     Case 3:20-cv-00428-DMS-KSC Document 20 Filed 12/31/20 PageID.95 Page 1 of 2




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 6
                            UNITED STATES DISTRICT COURT
 7
                         SOUTHERN DISTRICT OF CALIFORNIA
 8
 9
      UNITED STATES OF AMERICA,
10
                            Plaintiff,          Case No. 3:20-cv-428-DMS-KSC
11                                              (Judge Sabraw)
12
            v.                                  (Magistrate Judge Crawford)

13    0.56 ACRES OF LAND, MORE OR               ORDER GRANTING MOTION
      LESS, SITUATED IN THE CITY                TO SUBSTITUTE COUNSEL
14    OF TECATE, SAN DIEGO                      FOR THE UNITED STATES
15
      COUNTY, STATE OF
      CALIFORNIA, AND ESTATE OF
16    JOHN C. DONLEVY, et al.,
17                          Defendants.
18
           Pursuant to Civil Local Rule 83.3(f)(2), the Motion to Substitute Attorney
19
     (ECF No. 19) is granted. Trial Attorney Bhavna Changrani is withdrawn as counsel
20
     of record and substituted by
21
                 Reade Wilson
22               Trial Attorney
23               United States Department of Justice
                 Environment & Natural Resources Division
24               Land Acquisition Section
25               P.O. Box 7611
                 Ben Franklin Station
26
                 Washington, DC 20044-7611
27               Tel. (202) 305-0299
                 Fax. (202) 305-0398
28
                 Email. reade.wilson@usdoj.gov

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     Case 3:20-cv-00428-DMS-KSC Document 20 Filed 12/31/20 PageID.96 Page 2 of 2




 1
 2         All further Notices of Electronic Filings relating to activity in this case

 3   should be forwarded to Reade Wilson only. The Clerk shall update the docket

 4   accordingly.

 5         IT IS SO ORDERED.
 6
     Dated: December 31, 2020
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